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 1                              UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 NANCY BELL O’BRIAN and THOMAS                             Case No.: 2:21-cv-01286-APG-VCF
   CHARLES O’BRIAN, III,
 4                                                                Order for Status Report
        Plaintiffs
 5
   v.
 6
   SUSANA HERNANDEZ-TORRES, et al.,
 7
        Defendants
 8

 9         I ORDER that by January 7, 2022, the plaintiffs shall file a status report indicating

10 whether they intend to pursue their claims against the remaining defendants, Susana Hernandez-

11 Torres and Jorge Rodriguez-Martinez. If they intend to pursue their claims, they must also

12 advise who will substitute for plaintiff Thomas Charles O’Brian, III. See ECF No. 15; Fed. R.

13 Civ. P. 25. Failure to respond to this order by that date will result in the plaintiffs’ claims against

14 the remaining defendants being dismissed without prejudice.

15         DATED this 3rd day of December, 2021.

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                                                           ANDREW P. GORDON
                                                           UNITED STATES DISTRICT JUDGE
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